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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE


 ELIZABETH MOORE and
 JAMES B. MOORE,
                                                      Civil Action No. ___________
             Plaintiffs,

 v.                                                   JURY TRIAL DEMANDED

 BRIGHTVIEW HOLDINGS, INC.;
 BRIGHTVIEW ENTERPRISE
 SOLUTIONS, LLC; BRIGHTVIEW
 LANDSCAPE DEVELOPMENT, INC.;
 BRIGHTVIEW LANDSCAPE SERVICES,
 INC.; AND BRIGHTVIEW LANDSCAPES,
 LLC;

             Defendants.


                                     NOTICE OF REMOVAL

       Defendant Brightview Landscape Services, Inc., by and through the undersigned counsel,

pursuant to 28 U.S.C. §§ 1441, 1446, and 1332, hereby file this Notice of Removal of the above-

styled action from the Circuit Court for Shelby County, Thirtieth Judicial District of Tennessee, to

the United States District Court for the Western District of Tennessee, respectfully showing this

Honorable Court as follows:

       1.        Pursuant to 28 U.S.C. § 1446(a), Defendant has attached all process, pleadings, and

other documents served upon Defendant in the State Court Action to this Notice for Removal. (See

Exhibits 1-2).

       2.        Pursuant to 28 U.S.C. § 1332, the Court has jurisdiction over this action because

there should be complete diversity of citizenship between Plaintiff and the Defendant.




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       3.      Plaintiffs Elizabeth Moore and James B. Moore are resident citizens of Memphis,

Shelby County, Tennessee.

       4.      Brightview Landscape Services, Inc. is a Georgia entity with its principal place at

980 Jolly Road Suite 300, Blue Bell, PA 19422.

       5.      On October 7, 2020, Plaintiffs filed their Complaint in the Circuit Court of Shelby

County, Thirtieth Judicial District of Tennessee, styled as Elizabeth Moore and James B. Moore

v. Brightview Holdings, Inc., Brightview Enterprise Solutions, LLC, Brightview Landscape

Development, Inc., Brightview Landscape Services, Inc., and Brightview Landscapes, LLC, Civil

Action No. CT-4161-20 Div. II (the “State Court Action”). (See Complaint, attached as Exhibit 1).

The Circuit Court for Shelby County entered an Order of Voluntary Non-Suit with regard to the

following Defendants Brightview Holdings, Inc., Brightview Enterprise Solutions, LLC,

Brightview Landscape Development, Inc., and Brightview Landscapes, LLC on November 4, 2020

(Order of Voluntary Non-Suit, attached as Exhibit 2).

       6.      In their Complaint, Plaintiffs pray for judgment against Defendant in the amount of

$550,000.00.

       7.      It is uncontroverted that diversity of parties exists and the amount in controversy

exceeds $75,000.00 in this case. Consequently, diversity jurisdiction exists in this case pursuant

to 28 U.S.C. § 1332(a). Defendant, therefore, removes this matter from the Circuit Court for Shelby

County, Thirtieth Judicial District of Tennessee, to the United States District Court for the Western

District of Tennessee.

       8.      Pursuant to 28 U.S.C. § 1446(d), Defendant hereby certifies that they have notified

all adverse parties of this Notice of Removal in the State Court Action by filing a “Notice of Filing

Notice of Removal” attaching a copy of this “Notice of Removal” with the Clerk of the Circuit

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Court for Shelby County, Thirtieth Judicial District of Tennessee, which will send notifications of

same to all counsel/parties and by mailing a copy to Plaintiffs’ counsel via Certified Mail, Return

Receipt Requested. (See Notice of Filing Notice of Removal, attached as Exhibit 3).

        WHEREFORE, Defendant Brightview Landscape Services, Inc. respectfully requests that

the United States District Court for the Western District of Tennessee effectuate the removal of

this case.

        Respectfully submitted, this 11th day of November, 2020.

                                                    WILSON, ELSER, MOSKOWITZ,
                                                    EDELMAN AND DICKER, LLP

                                                    __/s/ James M. Burd__________
                                                    James M. Burd
                                                    TN Bar No.034940
 100 Mallard Creek Road
 Suite 250                                          Counsel for Defendant, Brightview
 Louisville, KY 40207                               Landscape Services, Inc.
 (502) 238-8548
 (502) 238-7995(Fax)
 james.burd@wilsonelser.com




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                               CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing NOTICE OF REMOVAL was electronically

filed with the Court using the CM/ECF system and was served by Certified Mail, Return Receipt

Requested, to the address below:

                                        Ben L. Daniel
                                    145 Court Avenue #201
                                   Memphis, Tennessee 38103
                                   Ben@DanielLawFirm.com

       Respectfully submitted this 11th day of November, 2020.


                                                  /s/ James M. Burd
                                                  James M. Burd




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